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                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



REBECCA CASTILLO,

                      Plaintiff,                     Case No. 1:18-cv-01536
       v.
                                                     Honorable John Z. Lee
HICKORY FARMS, LLC,

                      Defendant.


    DEFENDANT HICKORY FARMS, LLC’S COMBINED MOTION TO DISMISS
    PURSUANT TO RULE 12(B)(1) AND MEMORANDUM OF LAW IN SUPPORT

            Defendant, Hickory Farms, LLC (“Hickory Farms”), by and through its undersigned

attorneys, hereby moves to dismiss the complaint (the “Complaint”) filed by plaintiff, Rebecca

Castillo (“Plaintiff”), pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(1). In support

thereof, Hickory Farms states as follows.

                                       INTRODUCTION

       Plaintiff brings this action pursuant to Title III of the Americans with Disabilities Act, 42

U.S.C. § 12182, et seq. (the “ADA” or “Title III”) to cause Hickory Farms to redevelop its

website to make it more accessible for blind and visually-impaired individuals. The Complaint

should be dismissed because the request for injunctive relief is moot. Hickory Farms is currently

implementing relief identical to that sought in the Complaint pursuant to a consent decree

entered in an earlier-filed action styled Gniewkowski et al. v. Hickory Farms, LLC, No. 17-cv-

417 (W.D. Pa.) (“Gniewkowski”). Further, there is no realistic possibility that Hickory Farms will

undo the changes it is implementing. Because the Court cannot award Plaintiff any meaningful

injunctive relief, the Court should also decline to exercise supplemental jurisdiction over

Plaintiff’s California state law damages claim and dismiss the entire Complaint with prejudice.
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                                  FACTUAL BACKGROUND

       A. Hickory Farms

       For over 65 years, Hickory Farms has offered unique food gifts and gourmet gift baskets,

helping families celebrate and share holiday traditions. (Affidavit of Judy Ransford, attached as

Exhibit A ¶ 3). Hickory Farms gift baskets and food gifts are available year-round online. (Id.)

Around Thanksgiving and Christmas each year, Hickory Farms establishes kiosks in malls and in

other similar venues. (Id.)

       B. Factual Allegations

       The Complaint alleges Plaintiff, a visually-impaired individual, does not have full access

to the Hickory Farms website because screen reading software cannot convert elements of the

website into text-to-speech audio. (Complaint, ¶¶ 36a, 37). The Complaint further alleges the

website is not easily navigable to a blind or visually impaired individual because it contains

cursor traps and hyperlinks that cannot be activated by keyboard or have redundant or

uninformative link text. (Id., ¶ 36b-d). Plaintiff claims these alleged deficiencies violate Title III

of the ADA and the California Unruh Civil Rights Act. (Id., ¶ 4). Plaintiff seeks “a permanent

injunction to cause a change in Defendant’s corporate policies, practices and procedures so that

Defendant’s website will become and remain accessible to blind and visually-impaired

consumers, including Plaintiff.” (Id., ¶ 5). Plaintiff further “seeks a permanent injunction

requiring Defendant to retain a qualified consultant acceptable to Plaintiff (“Agreed Upon

Consultant”) to comply with the ADA and make the website accessible” and damages under the

Unruh Act (Id., ¶¶ 49, 72). Plaintiff claims well-established industry guidelines, including Web




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Content Accessibility Guidelines (WCAG),1 identify the components necessary to create a

website that is accessible to blind and visually-impaired individuals in accordance with the ADA.

(Id., ¶ 22).

        C. The Consent Decree

        Before this action was filed, a nearly identical lawsuit – Gniewkowski – was filed in the

Western District of Pennsylvania by individual plaintiffs and ADA advocacy organization

Access Now, Inc. Through the court’s alternative dispute resolution program, the parties

developed terms of a consent decree that was reviewed and approved by the court, and entered as

a federal court order (the “Consent Decree”). Pursuant to the Consent Decree, Hickory Farms has

complied, and will continue to comply, with the following obligations:

                Defendant shall engage an experienced accessibility consultant to assess the
                 Website and to provide Defendant with specific recommendations to facilitate
                 website accessibility and conformance with Web Content Accessibility
                 Guidelines 2.0 Level A and AA Success Criteria (“WCAG 2.0 AA”).

                Defendant shall ensure full and equal enjoyment of the goods, services, facilities,
                 privileges, advantages, and accommodations provided by and through its Website
                 according to the following timeline and requirements provided that the following
                 dates will be extended in the instance that the Department of Justice releases
                 regulations for websites under Title III of the ADA while this Consent Decree is
                 in effect and which contain compliance dates and/or deadlines further in the
                 future. No later than 27 months after the Effective Date of this Consent Decree,
                 Defendant shall make reasonable efforts to comply with the recommendations of
                 its consultant to ensure that the Website is accessible to individuals with Visual
                 Impairments, including conformity with WCAG 2.0 AA or the applicable
                 standard adopted by the Department of Justice.



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  Plaintiff alludes to federal guidelines that are “easily found on the Internet.” (Complaint, ¶ 22).
Those guidelines, available at https://www.justice.gov/jmd/page/file/1018261/download, state
that the standards for federal government websites incorporate the Web Content Accessibility
Guidelines (WCAG) regarding the development, procurement, maintenance and use of web-
based intranet and internet applications.




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            In the event Plaintiffs allege that Defendant failed to meet its obligations pursuant
             to paragraphs 13 or 14 of the Consent Decree or Defendant alleges that there is an
             element of WCAG 2.0 AA with which it cannot substantially comply, the party
             making such claim will notify the other party in writing with reasonable detail of
             the condition at issue. Within 30 days of receipt of written notice, the party
             receiving notice will provide a written response. The parties will make a good
             faith effort to resolve the dispute informally. If the issue remains unresolved 60
             days after the notice is given, the parties will mutually select an independent
             accessibility consultant with experience in accessible website design to evaluate
             whether a breach of the Consent Decree has occurred as defined in Paragraph 21
             herein.

            There will be no breach of this Consent Decree unless (a) the independent
             accessibility consultant determines that the Website is not accessible by a person
             with a Visual Impairment who has average screen reader competency using a
             prominent commercially available screen reader including but not limited to Jaws,
             Voiceover, or NVDA in combination with one of the following browsers (in
             versions of which are currently supported by their publishers): Internet Explorer,
             Firefox, Safari and Chrome; and (b) Defendant fails to remedy the issue within a
             reasonable period of time of not more than sixty (60) days after receiving the
             independent accessibility consultant’s opinion. If the independent accessibility
             consultant estimates it will take longer than sixty days to make the necessary
             changes, the amount of time estimated by the independent accessibility consultant
             will control. If the independent accessibility consultant finds that the inability to
             use a screen reader cannot be remedied using reasonable efforts, Defendants shall
             not be obligated to remedy the item.

(Consent Decree, ¶¶ 13-14, 20-21, copy attached as Exhibit B).

       Redeveloping the Hickory Farms website in conformance with WCAG 2.0 AA is a top

priority for Hickory Farms in 2018. (Ransford Affidavit, ¶ 5). Since the Consent Decree was

entered in August 2017, Hickory Farms has undertaken substantial steps to address website

accessibility issues. It researched, interviewed and selected an independent consultant,

Accessible360. (Id., ¶ 6). It held a workshop with the Hickory Farms Web Operations team and

outside web development firm Lyons GC (collectively, the “Web Development Team”) to

discuss priorities and strategies for 2018, including scheduling the implementation of the website

accessibility initiative. (Id., ¶ 7). It retained Accessible360 to audit its website to identify

accessibility issues and prepare a report concerning its findings and recommendations. (Id., ¶ 9).


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It further engaged Accessible360 to support and train the Web Development Team while it

undertakes the recommended modifications for the website. (Id., ¶ 10). Finally, Hickory Farms

engaged Accessible360 to conduct a comprehensive reassessment of the Hickory Farms website

to ensure it conforms with WCAG 2.0 AA. (Id., ¶ 11). All auditing, modifications, training,

testing, trouble-shooting and compliance reassessments will be complete no later than October

2018, when Hickory Farms implements an annual code freeze. (Id., ¶ 8).

         The Consent Decree is as an enforceable injunction, which may be enforced by the

plaintiffs in Gniewkowski. See Fed. R. Civ. P. 65. Pursuant to Rule 71, a non-party for whose

benefit the Consent Decree was entered may also move to enforce the Consent Decree. Fed. R.

Civ. Pro. 71.

                                          STANDARD

         Hickory Farms seeks dismissal under Rule 12(b)(1) on the grounds that Plaintiff’s claims

for injunctive and declaratory relief are moot. In determining whether to dismiss a claim on

mootness grounds, “the district court may properly look beyond the jurisdictional allegations of

the complaint and view whatever evidence has been submitted on the issue to determine whether

in fact subject matter jurisdiction exists.” Evers v. Astrue, 536 F.3d 651, 656-57 (7th Cir. 2008).

Such “[c]onsideration of evidence outside of the pleadings will not convert the motion attacking

federal jurisdiction into one for summary judgment.” McLachlan v. Astrue, 703 F. Supp. 2d 791,

795 (N.D. Ill. 2010), citing Capitol Leasing Co. v. FDIC, 999 F.2d 188, 191 (7th Cir. 1993).

                                          ARGUMENT

  I.     The Court Should Dismiss The ADA Claim Pursuant To Rule 12(b)(1).

         Plaintiff seeks an order pursuant to Section 12188(a)(2) of the ADA requiring Hickory

Farms to develop an accessibility policy and retain an independent consultant to advise Hickory

Farms on changing its website to comply with WCAG criteria and audit continued compliance.
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(Complaint, ¶¶ 48-49).2 Plaintiff’s claim for injunctive relief is moot because Hickory Farms has

already taken significant steps to implement the relief that Plaintiff seeks. Further, there is no

realistic possibility that Hickory Farms will undo the changes it is undertaking. Finally,

prudential limitations confirm Plaintiff’s lack of standing in this case.

           A. The Claim of Injunctive Relief Is Moot.

       “A case becomes moot, and the federal courts lose subject matter jurisdiction, when a

justiciable controversy ceases to exist between the parties.” Aslin v. Fin. Indus. Regulatory

Auth., Inc., 704 F.3d 475, 477 (7th Cir. 2013). If a court is unable to award meaningful relief, the

case is moot. Id. “This is often so where a plaintiff seeks only injunctive or declaratory relief

and the defendant discontinues the conduct in dispute.” Id. at 477-78. “Ensuring that standing

requirements are met by each plaintiff in each lawsuit brought under the ADA enables courts to

ensure that the ADA is not being abused.” Access 4 All, Inc. v. Thirty E. 30th St., LLC, No. 04

Civ. 3683, 2006 U.S. Dist. LEXIS 96742, at *35 (S.D.N.Y. Dec. 11, 2006); Access 4 All, Inc. v.

Chicago Grande, Inc., No. 06 C 5250, 2007 WL 1438167, at *4 (N.D. Ill. May 10, 2007)

(“[E]ven if Plaintiffs have been injured within the meaning of Title III of the ADA, they must

also show that their injuries satisfy the standing requirements of Article III of the Constitution to

establish subject matter jurisdiction.”).



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  The additional injunctive and declaratory relief requested, namely, an order mandating that
Hickory Farms “comply with the law” does not satisfy Rule 65(d)(1) and should be disregarded
as an “empty injunction.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974) (“Since an injunctive
order prohibits conduct under threat of judicial punishment, basic fairness requires that those
enjoined receive explicit notice of precisely what conduct is outlawed.”); cf. Access Now, Inc. v.
Blue Apron, LLC, No. 17-CV-116-JL, 2017 WL 5186354, at *2 (D.N.H. Nov. 8, 2017)
(explaining in an ADA website accessibility case that a request for an injunction to “comply with
the law” does not satisfy the mandate of Rule 65(d)(1) but a request for an injunction pursuant to
Section 12188(a)(2) to retain a consultant and compel compliance with WCAG criteria is not a
prohibited “general injunction.”).

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       The requested injunctive relief is moot because Hickory Farms is already obligated by the

Consent Decree to do exactly what Plaintiff seeks here. First, it must engage an independent

consultant to assess the Hickory Farms website and provide specific recommendations to

facilitate conformance with WCAG 2.0 AA. (Consent Decree, ¶ 13). Hickory Farms has already

engaged Accessible360 to audit the website and provide a detailed list of recommendations in

accordance with WCAG 2.0 AA. (Ransford Affidavit, ¶ 9). Second, Hickory Farms must make

reasonable efforts to implement the recommended changes. (Consent Decree, ¶ 14). This, too, is

already underway; the engagement with Accessible360 includes training the Web Development

Team and providing support to Hickory Farms throughout the redevelopment process. (Ransford

Affidavit, ¶ 10). Third, after the changes are complete, Hickory Farms must monitor whether the

website is, and continues to be, accessible by a person with a visual impairment who has average

screen reader competency using commonly available software and browsers. (Consent Decree,

¶¶ 14, 20-21). Hickory Farms’ engagement with Accessible360 includes a compliance

reassessment after the website modifications are complete. (Ransford Affidavit, ¶ 11). Any

further pursuit of an injunction would not provide Plaintiff any effectual relief, as nothing more

than what is already required by the Consent Decree can be reasonably accomplished.

       Plaintiff may contend her claim is not moot because when she visited the Hickory Farms

website in November 2017, she encountered barriers to access, and she will continue to

encounter issues until the modifications are complete. This argument is without merit. As an

initial matter, notwithstanding the 27-month time frame set forth in the Consent Decree, Hickory

Farms has already taken significant steps to conform its website to WCAG 2.0 AA, and has

every expectation that it will complete the modifications, auditing, testing, training and

compliance reassessment no later than October 2018. (Ransford Affidavit, ¶ 8).



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       Further, Plaintiff does not – and cannot – seek the immediate renovation of the Hickory

Farms website. As Plaintiff recognizes, in order to ensure the modifications to the website

achieve the intended result, a detailed review and analysis of the accessibility challenges must be

performed by a consultant who will audit, test and reassess the website. (Complaint, ¶¶ 49-50).

Indeed, none of the relief Plaintiff requests will cause the Hickory Farms website to immediately

comply with WCAG 2.0 AA.

       Because of the complex nature of the requested relief, an order requiring immediate

compliance with WCAG 2.0 AA would be patently unreasonable under “traditional equitable

principles.” Envtl. Conservation Org. v. City of Dallas, 529 F.3d 519, 529–30 (5th Cir. 2008)

(prior consent decree establishing a plan for compliance mooted the present case where

immediate cessation of the disputed conduct was not a practical solution). Following this

principle, several courts outside this jurisdiction have dismissed as moot cases identical to this

one. See Haynes v. Hooters of America, LLC, 2017 WL 2579044 (S.D. Fla. June 14, 2017)

(referred to herein as “Hooters”); Haynes v. Panda Express, Inc., 2018 WL 538698 (S.D. Fla.

Jan. 24, 2018) (referred to herein as “Panda Express”); Haynes v. Brinker Int’l, Inc., 2017 WL

4347204 (S.D. Fla. Sept. 29, 2017) (referred to herein as “Brinker”).3

       In Hooters, Panda Express and Brinker, the defendant had previously settled similar

lawsuits in which it agreed to implement relief identical to that sought in the second action.

Because website accessibility issues are complex and take time to resolve, Hooters, Panda

Express and Brinker hold that a binding and enforceable agreement committing a defendant to



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  Each of these cases has been appealed to the Eleventh Circuit. Oral argument in Hooters was
held on April 11, 2018. A recording of the oral argument is available at
http://www.ca11.uscourts.gov/oral-argument-recordings?page=1 (last accessed on April 17,
2018).

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attain website accessibility on a set schedule moots a request for the same relief, even if those

compliance efforts remain ongoing when the second action is filed.

       Further, unlike Hooters and Panda Express, where remediation of the website was

required only by a private agreement, here, the relief is embodied in a court-supervised Consent

Decree. Hooters, 2017 WL 2579044 at *1, Panda Express, 2018 WL 538698 at *3. That the

Consent Decree “is subject to judicial enforcement further evinces that there is no live

controversy warranting this Court's intervention.” Brinker, 2017 WL 4347204, at *4.

       Additionally, even if the Court dismisses the Complaint as moot, Plaintiff is not without

legal rights. Pursuant to Rule 71, Plaintiff may move to enforce the Consent Decree if she

believes Hickory Farms is not complying with its obligations thereunder. See Franz v. Vill. of

Melrose Park, Ill., No. 92 C 1588, 1992 WL 198931, at *3 (N.D. Ill. Aug. 12, 1992). The

binding obligations of the Consent Decree, which Plaintiff may move to enforce, moot the

injunctive relief requested in the Complaint.

           B. There Is No Likelihood That Hickory Farms Will Undo the Changes
              Required By The Consent Decree.

       Voluntary compliance moots a case where “the allegedly wrongful behavior could not

reasonably be expected to recur.” Already, LLC v. Nike, Inc., 133 S.Ct. 721, 727 (2013). If a

course of conduct “could not be resumed in this or any subsequent action” it is entirely

speculative that a claim will arise in the future. Id., citing Deakings v. Monaghan, 484 U.S. 193

(1998). Particularly where a defendant “ceased the challenged conduct for reasons unrelated to

the litigation” it is easier to show the challenged conduct is unlikely to reoccur. Equal

Employment Opportunity Comm'n v. Flambeau, Inc., 846 F.3d 941, 949–51 (7th Cir. 2017),

quoting Aref v. Lynch, 833 F.3d 242, 251 n.6 (D.C. Cir. 2016). Indeed, a case becomes

“inarguably moot” where the cessation of conduct is “less voluntary” due to a “binding,


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judicially enforceable agreement.” In re Residential Capital, LLC, No. 11 CIV. 5201 DLC, 2013

WL 1285430, at *3 (S.D.N.Y. Mar. 29, 2013), quoting Kidder, Peabody & Co., Inc. v. Maxus

Energy Corp., 925 F.2d 556, 563 (2d Cir.1991).

       The Consent Decree makes it absolutely clear that the conduct challenged in the

Complaint – the continued maintenance of a website that does not comply with the WCAG 2.0

AA – cannot be reasonably expected to reoccur. In order to implement the Consent Decree,

Hickory Farms has spent significant funds to retain Accessible360 and will continue to devote

substantial resources to ensure the website complies with WCAG 2.0 AA. These undertakings

are expensive, complex and required by separate court order, making it unlikely that Hickory

Farms will undo them simply because the Complaint is dismissed. Hummel v. St. Joseph Cty. Bd.

of Comm'rs, 817 F.3d 1010, 1023 (7th Cir. 2016) (finding plaintiffs’ claim was moot where

defendant provided the structural changes plaintiffs requested, and it would be difficult for

defendant to undo those changes). Moreover, it makes good business and financial sense to

modify the website to make it more accessible to more people, creating even less likelihood the

disputed conduct will reoccur. Flambeau, 846 F.3d at 949–51 (finding plaintiff’s claim was moot

where defendant abandoned wellness program prior to initiation of the lawsuit because its costs

outweighed its benefits.)

       It is entirely speculative that Hickory Farms would undo the significant work already

undertaken and the continuing work it is obligated to perform under the Consent Decree.

Therefore, the substantial steps taken to redevelop the Hickory Farms website in compliance

with the Consent Decree moot the identical relief requested in the Complaint.




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           C. Prudential Considerations Also Confirm Plaintiff Lacks Standing.

       The Complaint should also be dismissed in consideration of prudential limitations on

standing. “[I]n close cases, mootness can be in part a prudential doctrine.” Flambeau, 846 F.3d

at 949–51. “One of these limitations is that when the asserted harm is a ‘generalized grievance’

shared in substantially equal measure by all or a large class of citizens, that harm alone normally

does not warrant exercise of jurisdiction.” Dunnet Bay Const. Co. v. Borggren, 799 F.3d 676,

689 (7th Cir. 2015).

       Another prudential consideration is whether interpretive guidelines are available to assist

with questions of statutory interpretation. Flambeau, 846 F.3d at 949–51 (declining on mootness

and prudential grounds to consider whether an employer’s since-abandoned wellness program

violated the ADA where many questions were addressed through intervening DOJ guidelines).

Presently, there are no federal guidelines addressing accessibility for websites operated by

private companies. See Robles v. Dominos Pizza LLC, No. CV1606599SJOSPX, 2017 WL

1330216, at *8 (C.D. Cal. Mar. 20, 2017) (declining to exercise jurisdiction over website

accessibility case under the primary jurisdiction doctrine because “the issue of web accessibility

obligations [] require both expertise and uniformity in administration, as demonstrated by the

DOJ's multi-year campaign to issue a final rule on this subject.”) Particularly where, as here,

federal guidelines may help resolve the disputed issues in a case, the litigant’s personal stake in

the outcome of the lawsuit throughout its duration is diminished. Flambeau, 846 F.3d at 950-51.

       A plaintiff’s status as a serial litigant is also a relevant prudential consideration that can

undermine her intent to return to an allegedly inaccessible location. See Access 4 All, Inc. v.

Chicago Grande, Inc., No. 06 C 5250, 2007 WL 1438167, at *5-7 (N.D. Ill. May 10, 2007). A

search of PACER records shows that since February 2017, Plaintiff has filed at least 30 actions



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under Title III claiming accessibilities issues with each defendant’s website. (See Results of

PACER Search, attached as Exhibit C). Further, the Complaint contains scarcely any allegations

concerning the particular products that Hickory Farms offers, or Plaintiff’s purported intent to

visit the Hickory Farms website in the future. These prudential considerations diminish

Plaintiff’s personal stake in the outcome of the litigation, supporting the conclusion that Plaintiff

lacks standing to sue for injunctive relief under Title III of the ADA.


 II.     The Court Should Decline To Exercise Supplemental Jurisdiction Over the
         California State Law Claim.

         In addition to her federal claim, Plaintiff claims Hickory Farms violated the California

Unruh Civil Rights Act. (Complaint, Count II). Because Plaintiff’s claim for equitable relief is

moot, there is no original subject matter jurisdiction in this Court, and the Court should decline

to exercise supplemental jurisdiction over the California state law claim.

         It is well recognized that money damages “are not available to private parties under Title

III.” Ruffin v. Rockford Mem'l Hosp., 181 F. App'x 582, 585 (7th Cir. 2006). Thus, a private

plaintiff suing under Title III of the ADA can only obtain injunctive relief. See 42 U.S.C. §

12188(a) (providing that the remedies available to individuals shall be those set forth in 42

U.S.C. § 2000a–3(a), which allows a private right of action only for injunctive relief for

violations of Title II of the Civil Rights Act of 1964); Newman v. Piggie Park Enters., Inc., 390

U.S. 400, 402 (1968) (noting that Title II allows for injunctive relief only). Because Plaintiff’s

claim for injunctive relief is moot, all that remains is Plaintiff’s state law claim for damages

under the California Unruh Civil Rights Act.

         “Normally, when all federal claims are dismissed before trial, the district court should

relinquish jurisdiction over pendent state-law claims rather than resolving them on the

merits.” Sharp Elecs. Corp. v. Metro. Life Ins. Co., 578 F.3d 505, 514 (7th Cir. 2009) (internal
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quotations omitted). Courts have recognized three exceptions to this rule: “(1) the statute of

limitations has run on the pendent claim, precluding the filing of a separate suit in state court; (2)

substantial judicial resources have already been committed, so that sending the case to another

court will cause a substantial duplication of effort; or (3) when it is absolutely clear how the

pendent claims can be decided.” Id. None of these exceptions apply here. The one-year statute

of limitations has not run on Plaintiff’s claim for damages under the Unruh Act. Cal. Code Civ.

Proc., § 340. Further, no judicial resources have been committed in this case, and should not be

committed considering the resources already dedicated by the District Court for the Western

District of Pennsylvania. Finally, given this Court does not sit in the state where the state law

claim arises, there is no clarity regarding how the claim should be decided. The Court should

therefore decline to exercise supplemental jurisdiction over the Unruh Act claim.

                                              CONCLUSION

              For the reasons stated above, the Complaint should be dismissed with prejudice pursuant

to Rule 12(b)(1).

Dated: April 26, 2018                                      Respectfully submitted,

                                                           HICKORY FARMS, LLC


                                                           s/Rachel L. Schaller
                                                           Counsel for Defendant

                                                           Heather A. Jackson (ARDC No. 6243164)
                                                           Rachel L. Schaller (ARDC No. 6306921)
                                                           TAFT STETTINIUS & HOLLISTER LLP
                                                           111 E. Wacker Drive, Suite 2800
                                                           Chicago, IL 60601
                                                           Telephone:     (312) 527-4000
                                                           Email: hjackson@taftlaw.com
                                                                  rschaller@taftlaw.com


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